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                                                                            FILED
                         IN THE UNITED STATE DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA

                                                                     2013 FEB 22 A * 30
Xenon Health LLC                                                   CLERK US DISTRICT COURT
1155 South Robertson Blvd                                           ALEXANDRIA. VIRGINIA
Los Angeles, CA 90035

    and


Haroon W. Chaudhry, M.D.
1306 South Genesee Avenue
Los Angeles, California 90019
                                            CaseNo. ///3^^V
       Plaintiffs
                                                              U)b)W
       vs.



Mirza Baig
649 Deerfield Farm Ct.
Great Falls, VA 22066

          Defendant.




                                        COMPLAINT


       Plaintiffs, Xenon Health LLC ("Xenon LLC") and HaroonChaudhry, M.D. ("Dr.

Chaudhry") state the following for their Complaint againstthe Defendant, MirzaBaig ("Baig"):


                                           PARTIES



               Plaintiff Xenon Health LLC provides anesthesia services to medical facilities and

               management services to companies that perform anesthesia at medical facilities.

               Xenon's principal place of business is in Los Angeles, CA.

               Plaintiff Haroon Chaudhry, M.D. is a physician licensed to practice medicine in

               several states. Chaudhry resides in Los Angeles, CA and is Xenon LLC's

               President and Chief Executive Officer.
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  3.    Defendant Mirza Baig is an individual resident and citizen of the Commonwealth

        of Virginia.

                           JURISDICTION AND VENUE


  4.    Pursuant to 28 U.S.C. § 1332, this Court has jurisdiction over this action because

        the amount in controversy exceeds $75,000 exclusive of interest and costs, and is

        between citizens of different states.


  5.    Pursuant to 28 U.S.C. § 1391(b), venue is proper in this Court because Defendant

        Baig resides in this judicial District and his acts and omissions described herein

        occurred partially or completely in this judicial District.

                             FACTUAL BACKGROUND


  6.    Xenon LLC is a California-based company that provides anesthesia services to

        medical facilities, and management services to companies that provide anesthesia

        at medical facilities throughout the United States.

  7.    Prior to July 2011, Xenon LLC provided its services primarilyto clients in Ohio.

  8.    In early 2011, Xenon LLC expended significant resources on business

        development in an effort to expand its business into the State of Texas.

  9.    Dr. Chaudhry, Xenon LLC's CEO identified several Texas medical facilities

        which were in need of the type of anesthesiaservices provided by Xenon LLC.

  10.   Dr. Chaudhry thensecured the firm commitment of the owners of the following

        two Texas medical facilities to engage the anesthesia services of Xenon LLC: the

        Gastroenterology Diagnostic Center in Tomball, Texas ("GDC-Tomball") and the

        Westover Hills Gastroenterology Center in San Antonio, Texas ("WHGC")

        (collectively, the "Texas Clients").
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  11.   Under the corporate practice of medicine doctrine of the State of Texas, as

        codified by Tex. Occ. Code §164.052(a)(17), a Texas medical licensee or license

        applicant is prohibited from directly or indirectly aiding or abetting the practice of

        medicine by a person, partnership, association, or corporation that is not licensed

        to practice medicine by the Texas medical board.

  12.   At the time he secured the commitment of GDC-Tomball and WHGC, Dr.

        Chaudhry was not yet licensed by the Texas medical board.

  13.   To service the needs of Xenon LLC's newTexas Clients while complying with

        Texas law, Xenon LLC sought a Texas physician to temporarily own the Texas-

        based entity which would provide anesthesia services to the Texas Clients, while

        Dr. Chaudhry was in the process of obtaining his license to practice medicine in

        Texas.


  14.   In furtherance of that effort in May 2011, Fahim Hashim ("Hashim"), Xenon

        LLC's Chief Operating Officer, contacted his childhood friend, longtime advisor

        and businessassociate Mirza Baig, who introduced Dr. Mutjaba Ali Khan ("Dr.

        Ali Khan") to Xenon LLC and Dr. Chaudhry.

  15.   Dr. Ali Khan is a first cousin of Defendant Baig, and a physician licensed in the

        Stateof Texas. Dr. Ali Khan is an internal medicine doctor and does not practice

        in the area of anesthesiology.

  16.   Dr. Chaudhry and Dr. Ali Khan reached an agreement to form a Texas business

        entity for the purpose of providing anesthesia services in Texas.
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  17.   Pursuant to the agreement Dr. Ali Khan would form the Texas entity and serve as

        its managing member up until the time Dr. Chaudhry obtained his license to

        practice medicine in the State of Texas.

  18.   The Texas entity would enter into a management service contract with Xenon

        LLC, whereby (i) Xenon LLC wouldsupplycomprehensive management services

        (e.g., recruitinganesthesiologists, providing billing services, scheduling, etc.) to

        the Texas entity, including with respect to the servicing of the Texas Clients, in

        return for a monthly service fee of $750,000; (ii) Xenon LLC would manage all of

        the anesthesia services provided at the Texas Clients on behalf of the Texas

        entity; (iii) the Texas entity would grant Xenon LLC access to company bank

        accounts for management purposes; and (iv) the Texas entity would reimburse

        Xenon LLC for expenses incurred while providing the management services.

  19.   In July 2011, Dr. Ali Khan established Xenon Anesthesia of Texas PLLC

        ("Xenon TX"), and Xenon LLC and Xenon TX entered into an Exclusive

        Management Services Agreement.

  20.   Since the execution of the Exclusive Management and Services Agreement and

        continuing through the present, Xenon LLC has fulfilled and continues to fulfill

        all of its obligations required by that agreement.

  21.   In concert with Xenon LLC and Xenon TX entering into the Exclusive

        Management and Services Agreement, Dr. Chaudhry and Dr. Ali Khan entered

        into an Equity Interest Assignment Agreement as well as a Purchase and Sale

        Agreement.
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  22.   Pursuant to these agreements Dr. Ali Khan was required to sell to Dr. Chaudhry

        all of his interest in XenonTX withinseven businessdays of notification that Dr.

        Chaudhry had become licensed to practice medicine in the State ofTexas.



                     Interference with Xenon LLC's Business

  23.   In December 2011, Hashim had a falling out with Xenon LLC, resulting in his

        separation from Xenon LLC.

  24.   In that same time frame, Defendant Baig, Hashim and Dr. Ali Khan began to

        make concerted and coordinated efforts to interfere with Xenon LLC's business

        operations and interests in Texas and elsewhere.

  25.   Defendant Baig and Hashim acted in concert to induce the Texas Clients to cease

        all further business contact with Xenon LLC and Dr. Chaudhry.

  26.   On December 23,2011, pursuant to coercion and at the direction of Defendant

        Baig, Xenon TX wrongfully terminated its Exclusive Management Services

        Agreement with Xenon LLC, revoked its power of attorney granted to Dr.

        Chaudhry, and took measures to deny Dr. Chaudhry and Xenon LLC access to

        Xenon TX's bank accounts.


  27.   On December 23,2011, pursuant to coercion and at the direction of Defendant

        Baig, Dr. Ali Khan wrongfully terminated the Purchase and Sale Agreement with

        Dr. Chaudhry.

  28.   At the time Xenon TX terminated its Exclusive Management Services Agreement

        with Xenon LLC, Xenon TX had not paid to Xenon LLC the contractually

        required monthly management service fee since July 2011.
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  29.   Additionally, at the direction and under the coercion of Defendant Baig, Dr, Ali

        Khan began misrepresenting to other business acquaintances that the Purchase &

        Sale Agreement, Exclusive Management Services Agreement and Equity Interest

        Assignment Agreement with Dr. Chaudhry and Xenon LLC were null and void.

  30.   On December 28,2011, Asim Ghafoor ("Ghafoor"), acting at the direction and

        under the coercion of Defendant Baig, and as agent of and counsel to Dr. Ali

        Khan and Xenon TX, sent a fax to Xenon LLC's billing vendor (Northeast

        Medical Billing in Syosset, NY), instructing Northeast Medical Billing to cease

        further business communication with Xenon LLC regarding Xenon TX. Further,

        Ghafoor demanded that Northeast Medical Billing deliverall past billing

        information "related to the two Texas medical practicesfor which your firm has

        been collecting on behalf of Dr. Ali Khan and cease providing any past or future

        details to Dr. Chaudhry or Xenon LLC for these practices." The two medical

        practices referred to by Ghafoor are WHGC and GDC-Tomball.

  31.   Ghafoor is the longtime counsel of Defendant Baig and maintains a law practice

        near Defendant Baig's residence in the Commonwealth of Virginia.

  32.   Xenon LLC and NortheastMedical Billinghad entered into a billing agreement.

        Xenon TX and Northeast Medical Billing did not have a billing agreement

        between themselves.


  33.   On January 16,2012, Ghafoor, acting at the direction and under the coercion of

        Defendant Baig, and as counsel and agent for Dr. Ali Khan/Xenon TX, wrote to

        WHGC announcing XenonTX's suspension of the Exclusive Management
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        Services Agreement with Xenon LLC and directing that WHGC cease further

        dealings with Xenon LLC and Dr. Chaudhry.

  34.   Also on January 16,2012, Ghafoor, acting at the direction and under coercion of

        Defendant Baig, and as counsel and agent for Dr. Ali Khan and Xenon TX, wrote

        to GDC-Tomball announcing Xenon TX's suspension of its management services

        agreement with Xenon LLC and directing that GDC-Tomball cease further

        dealings with Xenon LLC and Dr. Chaudhry.

  35.   On or about January 17,2012, at the direction and under the coercion of

        Defendant Baig, Hashim visited both of the Texas Clients.

  36.   Hashim informed the office managers of both Texas Clients that there had been

        "management changes" at Xenon TX and that there was a "new medical director."

  37.   Hashim informed the office manager of GDC-Tomball that he and Dr. Ali Khan

        were taking over the business relationship with GDC-Tomball.

  38.   Ghafoor contacted Northeast Medical Billing again on or about January 18,2012

        to repeat his request that all billing information be diverted to Dr. Ali Khan.

  39.   On or about January 18,2012, a college classmate and business associate of

        Hashim and DefendantBaig, Aamir Abedeen ("Abedeen"), left a voicemail with

        Dr. Yoko Hirose, an agent of Xenon TX who provides anesthesia to patients at

        GDC-Tomball.


  40.   Inthe voicemail, Abedeen falsely stated that he was the new practice manager and

        asked Dr. Hirose to provide certainconfidential information, including

        compensation history.
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  41.   OnJanuary 19,2012,Hashim emailed Dr. Ali Khan stating: "I have visited both

        Dr. Jamali and Dr. Hasan as requested." Dr. Shabbir Jamali owns and operates

        GDC-Tomball. Dr. Mosaab Hasan owned andoperated WHGC in January 2012.

        In his January 19,2012 email, Hashim further stated: "Current volume is about 12

        to 15 procedures a day for 5 days a week for both clients combined. Annualized

        revenue should be well over $1 million for both centers combined."

  42.   Dr. Ali Khan replied to Hashim's January 19,2012 email with the words

        "Excellent! We'll discuss in detail tomorrow."


  43.   On January 20,2012, Hashim followed up with an email to Dr. Ali Khanstating

        that he "can be in Houston Tuesdayafternoon and we should perhaps ... arrange a

        meeting with ... Dr. Jamali so we can talk through everything." Hashim ended

        his January 20,2012 email saying that he would call Dr. Ali Khan the following

        day.

  44.   On or about January 25, 2012,Abedeen contacted Xenon LLC's billing company

        Northeast Medical Billing through multiple phone calls and claimed to be

        working on behalfof Dr. Ali Khan.

  45.   At the direction of, and with Defendant Baig's full knowledge, in February 2012,

        Hashim established Strategy Anesthesia LLC ("Strategy") for the purpose of

        competing with Xenon LLC.

  46.   Defendant Baig provided start-up funds for and services to Strategy with the

        intention of becoming a co-investor.
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  47.   Strategy began using Xenon's confidential business information inanattempt to

        steal Xenon LLC's business and provide anesthesia services to Xenon LLC's

        clients and most promising client leads.

  48.   This activity was conducted in blatant violation of the restrictive covenants in

        Hashim's Employment Agreement with Xenon LLC, whichprohibited Hashim

        from using Xenon's confidential business information.

  49.   Defendant Baig had previously reviewed and had full knowledge of the

        Employment Agreement between Hashim and Xenon LLC and knew of those

        restrictive covenants. Defendant Baig also had previously reviewed and had full

        knowledge of the (i) Exclusive Management Services Agreement between Xenon

        LLC and Xenon TX, (ii) Purchase and Sale Agreement between Dr. Chaudhry

        and Dr. Ali Khan, and the (iii) Equity Interest Assignment Agreement between

        Dr. Ali Khan and Dr. Chaudhry.

  50.   According to a sworn affidavit by Hashim, Defendant Baig was not only fully

        aware of Hashim/Strategy's intentions of approaching Xenon LLC existing and

        prospective clients, but was the mastermind behind the efforts to interfere with

        Xenon LLC business relationships.



           Dr. Chaudhry Obtains His License to Practice Medicine in Texas

  51.   Dr. Chaudhry obtained an administrative medicine license issued by the Texas

        Medical Board on October 1,2012.
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   52.   Such administrative medicine license authorizes Dr. Chaudhry to own and

         manage a Texas professional limited liability company such as Xenon TX which

         provides anesthesia-related services.

   53.   On October 9,2012, Xenon LLC wrote to Dr. Ali Khan notifying him that Dr.

         Chaudhry had obtained his Texas medical license; requesting certain information

         Xenon TX was obligated to provide pursuant the Purchase and Sale Agreement;

         and requesting, as required by the Purchase and Sale Agreement, that closing on

         the sale of Xenon TX to Dr. Chaudhry take place within sevenbusiness days.

   54.   Acting under the direction and coercion of Defendant Baig, Dr. Ali Khan did not

         respond to the request for information from Xenon LLC and did not comply with

         the requirement of the Purchase and Sale Agreement that the sale of Xenon TX to

         Dr. Chaudhry occur within seven business days of the date of Dr. Chaudhry's

         written notification to Dr. Ali Khan.


   55.   OnNovember 7,2012, in Xenon Health LLC and Haroon Chaudhry, M.D. v.

         Xenon Anesthesia ofTexas PLLC and Mujtaba Ali Khan, D.O., Cause No. 12-01-

         00014-CV (District Court of Montgomery County, Texas), presiding Judge Cara

         Woods issued a Temporary Injunction against Xenon TX and Dr. Ali Khan (the

         "Texas Temporary Injunction"). The order stated that "after considering the

         evidence received and the arguments of counsel, the Court finds and concludes

         that Plaintiff {sic} likely will prevail on the trial of this cause". The order also

         enjoined Xenon TX and Dr. Ali Khan from, among other things, failing to

         disclose Xenon TX's financial information, making expenditures outside of the




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         ordinary course of business, and from renegotiating contracts with Xenon TX's

         business partners.

   56.   According to a bank account statementprovided to Dr. Chaudhry, as of

         November 9,2012, Xenon TX's bank deposit account with Chase Bank, NY had

         a balance of approximately four hundred and seventy thousand dollars

         ($470,000).

   57.   Despitethe Temporary Injunction and the terms and provisions ofthe Exclusive

         Management Services Agreement, Xenon TX and Dr. Ali Khan, under the

         coercion and at the direction of Defendant Baig, have refused to communicate any

         information about Xenon TX's bank deposit account since November 9,2012.

   58.   Since July 2011, Xenon TX has not paid the seven hundred and fifty thousand

         dollars ($750,000.00) monthly service fee owed to Xenon LLC.

   59.   In violation of the Exclusive Management Services Agreement, Xenon TX has

         not reimbursed Xenon LLC businessexpenses incurred in managing Xenon TX in

         the amountof one hundred and twenty-three thousand one hundred and sixty-nine

         dollars and seventy-six cents ($123,169.76).



                              Mirza Baig - The "Mastermind"

   60.   On January 10,2013, Hashim testified in a sworn affidavit that Defendant Baig

         was the mastermind and planner behind a concerted effort to interfere with and

         destroy Xenon LLC's business for Defendant Baig's and Hashim's personal

         financial gain.




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   61.   According to Hashim, beginning in December 2011, Defendant Baig became the

         central figure in a plan involving Hashim, Dr. Ali Khan and himself. He conspired

         and acted in concert with Hashim and Dr. Ali Khan to (a) cause the termination of

         the Exclusive Management Services Agreement between Xenon TX and Xenon

         LLC; (b) cause the terminationof the Purchaseand Sale Agreement and the

         Equity Interest Assignment Agreement between Khan and Chaudhry; (c) oversee

         and assistHashim in connection with Hashim's misuse and misappropriation of

         Xenon LLC's confidential business information; (d) oversee and assist Hashim in

         connection with the violation of Hashim's Employment Agreement; and (e) assist

         Hashim in interfering with Xenon LLC's sales efforts and prospective contractual

         relations with client leads, including, but not limited to, Dr. David Garcia in San

         Antonio, TX, Dr. Umed Shah, in Hollywood, MD, and Dr. Junaid Siddiqui in

         Round Rock, TX.

   62.   According to Hashim, Defendant Baig"was the mastermind and master planner

         of all activity that occurred regarding {Xenon TX} because neither Dr. AH Khan

         nor his attorney, Asim Ghafoor, would take any action without Mirza Baig's

         approval."

   63.   In the affidavit, Hashim testified that he personally "discussedthe signed contract

         {he} had with Xenon Health {LLC}" with Defendant Baig. Furthermore,

         "{b}ased on all the data collected, MirzaBaig decided to explore the contractDr.

         Chaudhry had with Dr. Ali Khan concerning Xenon TX."




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   64.   Defendant Baig and Hashim"realized in this processthat if Dr. Ali Khan was

         able to terminate his contract with Dr. Chaudhry and take control of the two

         Texas clients of Xenon TX, then that could be a financial gain."

   65.   "Furthermore, Dr. Ali Khan wanted to settle with Dr. Chaudhry and endany

         dispute with Xenon Health {LLC}. Mirza Baig felt, however, that there was a lot

         of financial gain by gaining control of the 2 Texas clients, and convinced Dr. Ali

         Khan not to settle any dispute with Dr. Chaudhry and Xenon Health {LLC}."

   66.   Hashim stated: "Asim Ghafoor was Dr. Ali Khan's attorney and was always in the

         loop on legal decisions, but Mirza Baig always made the final decisions and told

         everyone what to do."

   67.   "Mirza Baig personally assisted Dr. Ali Khan in getting control of the bank

         account of Xenon TX and told me when to go to Texas to help Dr. Ali Khan gain

         control of the clients of Xenon TX."

   68.   "Mirza Baig, Asim Ghafoor and I had numerous calls and meetings about what to

         do, and I did suggest several courses of actions that we could take to gain control

         of Xenon TX, but Mirza Baig always made the final decisions."

   69.   According to Hashim: "After a Texas temporary restraining order was served on

         Dr. Ali Khan in January 2012,1 started becoming less involved in Mirza Baig's

         plan for Xenon TX. I questioned Mirza Baig several times but was told that the

         plan was still the same and we would be running the company and that Dr.

         Chaudhry would be out."

   70.   On December 14,2011, Hashim explicitly discussed the Purchase and Sale

         Agreement in an email to Defendant Baig, stating that "{o}ur best approach is to



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         cite the illegality of the contract... and us that leverage to make the contract void,

         take control of {Xenon TX} and force {Chaudhry} into a settlement while we

         take over the money and the clients."

   71.   In another email sent to Defendant Baig the same day, Hashim explained that "we

         have an opportunity to take full control of Xenon Anesthesia of TX, kick out

         Haroon {Chaudhry} and take control of the revenues and 3 TX contracts that will

         bring in well over $3 million per year... This is a great opportunity for all of us."

   72.   In an email dated December 21,2011, Hashim asks Defendant Baig to "make sure

         that {Dr. AH Khan} brings all his incorporation records and multiple IDs with

         him to Maryland so that {another business associate} will have everything he

         needs to assist {Dr. Ali Khan} on Monday {regarding the Xenon TX bank

         account}."

   73.   Defendant Baig also sent emails to Hashim. On December 24,2011, he forwarded

         to Hashim correspondence sent from Xenon LLC's company lawyer.

   74.   On January 6,2012 he confirmed a meeting with Hashim.

   75.   On January 19,2012, Hashim sent an email to Defendant Baig and Ghafoor,

         seeking guidance. He begged Defendant Baig and Ghafoor to "PLEASE HELP

         ME AND ADVISE WHAT I NEED TO DO SINCE THESE ARE MUJTABA

         {ALI KHANJ'S CLIENTS AND HAROON {CHAUDHRY} HAS

         INTERFERED WITH MUJTABA {ALI KHAN}'S CLIENTS AFTER HE WAS

         TOLD NOT TO. I NEED TO GO AND TAKE ACTION NEXT WEEK."

         (uppercase in the original).




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   76.   On January 29,2012, Hashim invited Defendant Baig to participate on a

         conference call which included Dr. Ali Khan and Ghafoor. The agenda of the call

         was "1. Feedback from Dr. Bhuriwala. 2. Planthe meeting with Dr. Jamali for

         next week. 3. Discuss billing and next steps." "Dr. Bhuriwala"refers to Dr. Ali

         Akbar Bhuriwala, a Houston-area physician and business associate of Dr. Ali

         Khan.


   77.   On February 5,2012, Defendant Baigsent Hashim an email complaining that he

         was "here with Mujtaba {Ali Khan} and Asim {Ghafoor}. They have a half a

         dozen complaints about {Hashim's} conduct. Can you please call me?"

   78.   Hashim replied to Defendant Baig's February 5,2012 complaint with a three-page

         email detailing his efforts to contact GDC-Tomball as well as the involvement of

         Dr. Akbar Bhuriwala on behalf of Dr. Ali Khan and Defendant Baig.

   79.   On February 7,2012, Defendant Baig directly called Dr. Chaudhry several times.

         During the phone conversation, Defendant Baig stated that he was coming to Los

         Angeles and that he wanted to meet with Dr. Chaudhry concerning the lawsuit

         that Xenon LLC had filed against Dr Ali Khan. Defendant Baig also threatened

         Dr. Chaudhry, claiming that he would have federal charges brought against Dr.

         Chaudhry and that Dr. Chaudhry would go to jail.

   80.   On February 12,2012, in an email nominally sent to Hashim's lawyer Faisal Gill,

         but manifestly intended for Defendant Baig and Ghafoor (who are copied),

         Hashim recommends that "{Baig/Ghafoor} terminate Ava {Neroda, CEO of

         Northeast Medical Billing}". He adds that Dr. Ali Khan "should take control of




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         billing ASAP before there is another injunction and he is stuck with Ava, who is

         not sharing information with him."

   81.   On May 2,2012, Defendant Baig called and texted Dr. Chaudhry again to discuss
         Xenon TX and Dr. AH Khan.




 COUNT I: TORTIOUS INTERFERENCE WITH CONTRACTUAL RELATIONS

   82.   Plaintiffs re-allege and incorporate by reference the allegations in Paragraphs 1

         through 81, as though fully set forth herein.

   83.   Dr. Chaudhry has, or had, a valid and enforceable Purchase and Sale Agreement

         with Dr. Ali Khan.


   84.   Dr. Chaudhry has, or had, a valid and enforceable Equity InterestAssignment

         Agreement with Dr. Ali Khan.

   85.   At all times relevant herein, Defendant Baig had knowledge of the foregoing

         contractual relationships.

   86.   Defendant Baig intentionally employed improper and wrongful conduct

         including, but not limited to, misrepresentations, deceit, defamation, duress,

         undue influence, common law conspiracy, statutory business conspiracy,

         unethical conduct, overreaching, and sharp dealing causing Dr. Ali Khan to

         wrongfully breach and/or terminate his contractual relationships with Dr.

         Chaudhry.

   87.   As a direct and proximate result of that conduct, Dr. Chaudhry has suffered and

         will continue to suffer damage. That damage was an intentional and reasonably

         foreseeable consequence of Defendant Baig's conduct.



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   88.   Defendant Baig's actions constitute a tortious interference with contractual

         relations for which he is liable to Dr. Chaudhry in an amount to be determined at

         trial but not less than One Million Dollars ($1,00,000.00).

   89.   Defendant Baig's conduct evidences malice or such a reckless disregard for the

         rights of Dr. Chaudhry as tojustify an awardof punitivedamages in an amountto

         be determined at trial.


   90.   Additionally, Xenon LLC has, or had, a valid and enforceable Exclusive

         Management Services Agreement with Xenon TX.

   91.   At all times relevant herein, Defendant Baig had knowledge of the foregoing

         contractual relationship.

   92.   Defendant Baig intentionally employed improper and wrongful conduct

         including, but not limited to, misrepresentations, deceit, defamation, duress,

         undue influence, common law conspiracy, statutory business conspiracy,

         unethical conduct, overreaching, and sharp dealing causing Xenon TX to

         wrongfully breach and/or terminate its contractual relationship with Xenon LLC.

   93.   As a direct and proximate result of that conduct, Xenon LLC has suffered and will

         continue to suffer damage. That damage was an intentional and reasonably

         foreseeable consequence of Defendant Baig's conduct.

   94.   Defendant Baig's actions constitute tortious interference with contractual relations

         for which he is liable to Xenon LLC in an amount to be determined at trial, but

         not less than Five Million Two Hundred Fifty Thousand Dollars ($5,250,000).




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   95.    Defendant Baig's conduct evidences malice or such a reckless disregard for the

          rights of Xenon LLC as tojustify anaward of punitive damages in anamount to
          be determined at trial.


   96.    Furthermore, Xenon LLC has, or had, a valid and enforceable Employment

          Agreement with Hashim.

   97.    At all times relevant herein, Defendant Baig had knowledge of the foregoing

          contractual relationship.

   98.    Defendant Baig intentionally employed improper and wrongful conduct

          including, but not limited to, misrepresentations, deceit, defamation, duress,

          undue influence, common law conspiracy, statutory business conspiracy,

          unethical conduct, overreaching, and sharp dealing causing Hashim to violate the

          terms of his contractual relationship with Xenon LLC.

   99.    As a direct and proximate result of that conduct, Xenon LLC has suffered and will

          continue to suffer damage. That damage was an intentional and reasonably

          foreseeable consequence of Defendant Baig's conduct.

   100.   Defendant Baig's actions constitute tortious interference with contractual relations

          for which he is liable to Xenon LLC in an amount to be determined at trial but not

          less than One Million Dollars ($1,000,000).

   101.   Defendant Baig's conduct evidences malice or such a reckless disregard for the

          rights of Xenon LLC as to justify an award of punitive damages.



   COUNT II: TORTIOUS INTEREFERENCE WITH BUSINESS EXPECTANCY




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   102.   Plaintiffs re-allege and incorporate byreference the allegations in Paragraphs 1
          through 101, as though fully set forth herein.

   103.   Xenon LLC hada tangible and objective business andcontract expectancy with,

          among other client leads, Dr. David Garcia in San Antonio, TX, Dr. Umed Shah

          in Hollywood, MD, and Dr. Junaid Siddiqui in Round Rock, TX.

   104.   At all times relevant herein, Defendant Baig had knowledge of the foregoing

          business and contract expectancies.

   105.   Defendant Baig, employing improper and wrongful conduct including, but not

          limited to, misrepresentation, coercion, deceit, defamation, duress, common law

          conspiracy, statutory business conspiracy, unethical conduct, overreaching, and

          sharp dealing, intentionally interfered with the foregoing business and contract

          expectancies.

   106.   As a direct and proximate result of said conduct, Xenon LLC has suffered injury,

          which was an intentional and reasonably foreseeable consequence of Defendant

          Baig's conduct.

   107.   Defendant Baig's actions constitute a tortious interference with contract

          expectancy for which he is liable to Xenon LLC in an amount to be determined at

          trial, but not less than One Million Dollars ($1,000,000.00).

   108.   Defendant Baig's conduct evidences malice or such a reckless disregard for the

          rights of Xenon LLC as to justify an award of punitive damages.




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                          COUNT III: BUSINESS CONSPIRACY
                        PURSUANT TO VA. COD ANN. § 18.2-499

   109.   Plaintiffs re-allege and incorporate by reference the allegations inParagraphs 1
          through 108, as though fully set forth herein.

   110.   Bythe conduct described herein, including inducement of breach of contract,

          Defendant Baig has improperly and wrongfully combined, associated, agreed,

          mutually undertaken or acted in concert with Hashim, Dr. Ali Khan, Xenon TX,

          Dr. Ali Akbar Bhuriwala, and/orother unknown persons, for the purpose of

          willfullyand maliciously injuringXenon LLC in its reputation and business

          relations in violation of Va. Code Ann. § 18.2-499.

   111.   Defendant Baig, Hashim, Dr. Ali Akbar Bhuriwala, Dr. Ali Khan, and Xenon TX

          collectively misappropriated and misused Xenon LLC's confidential client

          information for the purpose of soliciting Xenon LLC's client leads away from

          Xenon LLC.


   112.   Defendant Baig (in concert with Hashim, Dr. Ali Khan, Xenon TX, and Dr. AH

          Bhuriwala) acted intentionally, purposefully, and without lawful justification, to

          injure Dr. Chaudhry and Xenon LLC in their reputation and business relations.

   113.   As a direct and proximate result of said conduct, Xenon LLC and Dr. Chaudhry

          have suffered injury, which was an intentional and reasonably foreseeable

          consequence of Defendant Baig's conduct.

   114.   Defendant Baig's actions constitute a violation of § 18.2-499 for which he is

          liable to Xenon LLC and Dr. Chaudhry under § 18.2-500(A) in the amount of

          three-fold the damages suffered by Xenon LLC and Dr. Chaudhry, or three-fold

          the gain achieved by Defendant Baig, and Plaintiffs' reasonable attorneys' fees.

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          COUNT IV: COMMON LAW CONSPIRACY TO INDUCE BREACH OF
                                             CONTRACT

   115.    Plaintiffs re-allege and incorporate by reference the allegations in Paragraphs 1
           through 114, as though fully set forth herein.

   116.     Bythe conduct described herein, Defendant Baighas improperly and wrongfully

           combined, associated, agreed, mutually undertaken or acted in concert with

           Hashim, Dr. Ali Khan, and Xenon TX for the purpose of inducing Dr. Ali Khan to

           breach his Purchase and Sale Agreement and Equity Interest Assignment

           Agreement with Dr. Chaudhry, which has proximately caused injury to Dr.

           Chaudhry and caused Dr. Chaudhry to suffer damages.

   117.    By the conduct described herein, Defendant Baig has improperly and wrongfully

           combined, associated, agreed, mutually undertaken or acted in concert with

           Hashim, Dr. Ali Khan, and Xenon TX for the purpose of inducing Xenon TX to

           breach its Exclusive Management Services Agreement with Xenon, LLC, which

           has proximately caused injury to Xenon LLC and caused Xenon LLC to suffer

           damages.

   118.    By the conduct described herein, Defendant Baig has improperly and wrongfully

           combined, associated, agreed, mutually undertaken or acted in concert with

           Hashim, Dr. AH Khan, and Xenon TX for the purpose of inducing Hashim to

           breach his Employment Agreement with Xenon, LLC, which has proximately

           caused injury to Xenon LLC and caused Xenon LLC to suffer damages.




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   119.   Defendant Baig's actions constitute a common law conspiracy to induce breach of

          contract for which he is liable to Xenon LLC and Dr. Chaudhry in an amountto

          be proven at trial.

   120.   Defendant Baig's conduct evidences malice or such a reckless disregard forthe

          rights of Xenon LLC and Dr. Chaudhry as to justify an awardof punitive

          damages.




                                REQUEST FOR JURY TRIAL


   Plaintiffs Xenon LLC and Haroon Chaudhry respectfully request a trial by jury.


                                 PRAYER FOR RELIEF



WHEREFORE, Plaintiffs respectfully request that this Court:


   (a)    Award, order and enter judgment in favor of Plaintiffs Xenon Health LLC and

          Haroon Chaudhry in the amount of Eight Million Two Hundred Fifty Thousand

          Dollars ($8,250,000.00) as compensatory and consequential damages to be

          determined by the jury;

   (b)    Award, order and enter judgment in favor of Plaintiffs Xenon Health LLC and

          Haroon Chaudhry in the amount of One Million Dollars ($1,000,000.00) as

          punitive damages as determined by the jury;

   (c)    Enter an order and judgment in favor of Plaintiffs Xenon Health LLC and Haroon

          Chaudhry trebling the damages awarded by the jury, and awarding the costs of

          this action, and attorneys' fees pursuant to Va. Code Ann. § 18.2-500;

   (d)    Award such other relief as the Court deems just and proper.

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DATE                              XENON HEALTH LLC


February 22.2013


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